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m THE UNITED sTATEs DISTRICT cOURT EH~~~" --' ?‘ .~.
FOR THE wEsTERN D:sTRICT OF TENNESSEE H_
WESTERN DIvIsION 55 \...11):££1¢ ,; H' J

 

UNI'I‘ED STATES OF AMERICA,

 

VS. NO. 04-20468-Ma

RODNEY CHI SM ,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant's June 22, 2005, motion to
reset the sentencing of Rodney Chism, which is presently set for
July l, 2005. For good Cause shown, the motion is granted. The
sentencing of defendant Rodney Chism is reset to Wednesday, July

13, 2005, at 9:00 a.m.

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lt is so ORDERED this day of June, 2005.

MM»»

SAMUEL H. MAYS, JR.
UNITED STATES DIS'I‘RIC‘I‘ JUDGE

 

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This notice confirms a copy of the document docketed as number 24 in
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Honorable Samuel Mays
US DISTRICT COURT

